

















IN THE COURT OF CRIMINAL APPEALS


OF TEXAS






NO. AP-76,887






EX PARTE FREDERICK LANE JONES, Applicant








ON APPLICATION FOR A WRIT OF HABEAS CORPUS


CAUSE NO. 38837-B IN THE 124TH DISTRICT COURT


FROM GREGG COUNTY






	Per curiam.


O P I N I O N



	Pursuant to the provisions of Article 11.07 of the Texas Code of Criminal Procedure, the
clerk of the trial court transmitted to this Court this application for a writ of habeas corpus.  Ex parte
Young, 418 S.W.2d 824, 826 (Tex. Crim. App. 1967).  Applicant was convicted of possession of a
controlled substance and sentenced to forty years' imprisonment.  He did not appeal his conviction.

	Applicant contends that he was denied his right to an appeal.  The trial court found, among
other things, that trial counsel should have filed a notice of appeal.  The trial court recommended that
we grant Applicant an out-of-time appeal.  We agree.  Jones v. State, 98 S.W.3d 700, 703 (Tex.
Crim. App.  2003) ("If the defendant does not wish to appeal, trial counsel's representation ends. If
the defendant decides to appeal, the attorney must ensure that written notice of appeal is filed with
the trial court").  Applicant is entitled to the opportunity to file an out-of-time appeal of the judgment
of conviction in cause number 38837-B from the 124th District Court of Gregg County.  Applicant
is ordered returned to that time at which he may give a written notice of appeal so that he may then,
with the aid of counsel, obtain a meaningful appeal.  Within ten days of the issuance of this opinion,
the trial court shall determine whether Applicant is indigent.  If Applicant is indigent and wishes to
be represented by counsel, the trial court shall immediately appoint an attorney to represent
Applicant on direct appeal.  All time limits shall be calculated as if the sentence had been imposed
on the date on which the mandate of this Court issues.  We hold that, should Applicant desire to
prosecute an appeal, he must take affirmative steps to file a written notice of appeal in the trial court
within 30 days after the mandate of this Court issues.

	Copies of this opinion shall be sent to the Texas Department of Criminal Justice-Correctional
Institutions Division and Pardons and Paroles Division. 


Delivered: October 3, 2012

Do not publish


